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     Attorneys for Defendants and Counterclaimants
 9   YOUTUBE, LLC and GOOGLE LLC
10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   MARIA SCHNEIDER, UNIGLOBE                        )   CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                      )
14                                                    )   DECLARATION OF ARPAN
     PUBLISHING LTD., individually and on behalf
     of all others similarly situated,                )   AGRAWAL IN SUPPORT OF
15                                                    )   DEFENDANTS’ SEALING
                                                      )   REQUESTS
16                 Plaintiffs,                        )
                                                      )
17          v.                                        )
                                                      )
18   YOUTUBE, LLC and GOOGLE LLC,                     )
                                                      )
19                 Defendants                         )
                                                      )
20                                                    )
                                                      )
21                                                    )
     YOUTUBE, LLC and GOOGLE LLC,                     )
22                                                    )
                   Counterclaimants,                  )
23                                                    )
            v.                                        )
24                                                    )
                                                      )
25   PIRATE MONITOR LTD, PIRATE MONITOR               )
     LLC, and GÁBOR CSUPÓ,                            )
26                                                    )
                   Counterclaim Defendants.           )
27                                                    )
28



     DECLARATION OF ARPAN AGRAWAL                                     CASE NO.: 3:20-CV-04423-JD
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 1          I, Arpan Agrawal, declare as follows:

 2          1.      I am currently a Senior Finance Manager for Defendant YouTube, LLC

 3   (“YouTube”). I am familiar with YouTube’s practices regarding financial disclosure, commercial

 4   deal negotiations, and external affairs disclosures. I have personal knowledge of the facts set forth

 5   herein and, if called as a witness, I could and would testify competently to them.

 6          2.      YouTube has requested to seal specific categories of limited, highly sensitive

 7   information contained in documents submitted in connection with various motions before the

 8   Court. These documents are attached to the Declaration of Qifan Huang in Support of Defendants’

 9   Sealing Requests (“Huang Declaration”), which also describes the categories in detail. My

10   declaration below supports the sealing of documents contained in the following category:

11   YouTube’s Financial Information, Including Revenues, Costs, and Profits.

12   YouTube’s Financial Information, Including Revenues, Costs, and Profits

13   Portions Sought to be Sealed                   Basis for Sealing
     Exhibit 9 to the Huang Declaration             These documents contain YouTube’s financial
14
     Originally filed at Dkt. Nos. 243-19 & 247-18  information, including monthly revenue, content
15   as Exhibit 18 to Plaintiffs’ Motion of Class   acquisition costs, other cost of sales and
     Certification                                  infrastructure, gross profit, gross profit margin,
16
                                                    and historical profitability status, between 2017
17   Expert Report of Hal J. Singer dated November and 2020. They also describe in detail the
     17, 2022                                       different accounting methods for generating
18
     Portions of pages 20-21                        video-level revenue and for generating GAAP
19   Exhibit 26 to the Huang Declaration            revenue, which would explain any potential
     Originally filed at Dkt. Nos. 261-2 & 262-5 as differences between the two figures. They
20
     Exhibit D to Motion to Exclude Plaintiffs’     further contain data concerning the advertising
21   Experts Cowan and Singer                       revenue attributable to videos that are the
                                                    subjects of the sample takedown notices
22
     Expert Report of Hal J. Singer, Ph.D. for      YouTube produced pursuant to this Court’s
23   Plaintiffs, dated November 17, 2022, with      order on August 30, 2022. Dkt. No. 165.
     Errata                                         Defendants have designated the underlying
24
     Portions of pages 20-21                        documents and testimony “Highly Confidential
25   Exhibit 30 to the Huang Declaration            – Attorneys’ Eyes Only” under the parties’
     Originally filed at Dkt. Nos. 279-6 & 280-7 as Stipulated Protective Order.
26
     Exhibit 5 to Opp. To Motion to Exclude
27   Plaintiffs’ Experts Cowan and Singer           These details are sensitive commercial
                                                    information YouTube protects as highly
28
     Expert Report of Hal J. Singer, Ph.D., dated   confidential and require heightened protection.


     DECLARATION OF ARPAN AGRAWAL                       -1-                   CASE NO. 3:20-CV-04423-JD
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 1   Portions Sought to be Sealed                    Basis for Sealing
     November 17, 2022                               Public disclosure of proprietary commercial
 2
     Portions of pages 20-21                         terms, cost of content delivery, gross margins,
 3   Exhibit 31 to the Huang Declaration             and the monetization rate of videos on YouTube
     Originally filed at Dkt. Nos. 279-7 & 280-8 as  would unfairly advantage YouTube’s
 4
     Exhibit 6 to Opp. To Motion to Exclude          competitors who could utilize this information
 5   Plaintiffs’ Experts Cowan and Singer            to undercut YouTube’s advertising business and
                                                     commercial partnerships. Additionally,
 6
     Expert Rebuttal Report of Greg Halm, dated      disclosure of this advertising revenue
 7   December 29, 2022                               information and cost breakdown would impact
     Portions of pages 48, 50, and 52-54             YouTube’s standing with advertisers and
 8
     Exhibit 35 to the Huang Declaration             partners, with whom YouTube shares
 9   Originally filed at Dkt. Nos. 276-8 & 278-11 as advertising revenue, and also harm YouTube’s
     Exhibit 8 to Opp. To Motion to Exclude          ability to negotiate future advertising revenue
10
     Plaintiffs’ Proposed Experts Winograd and       share agreements.
11   Jessop

12
     Expert Rebuttal Report of Greg Halm, dated
13   December 29, 2022
     Portions of pages 48, 50, and 52-54
14
     Exhibit 43 to the Huang Declaration
15   Originally filed at Dkt. Nos. 253-9 & 254-9 as
     Exhibit 7 to Motion to Exclude Defendants’
16
     Expert Halm
17
     Expert Rebuttal Report of Greg Halm dated
18
     December 29, 2022
19   Portions of pages 48, 50, and 52-54
     Exhibit 45 to the Huang Declaration
20
     Originally filed at Dkt. Nos. 253-12 & 254-12
21   as Exhibit 10 to Motion to Exclude Defendants’
     Expert Halm
22

23   Exhibit 142 to the July 1, 2022 deposition of
     Arpan Agrawal
24
     Cells B4:N9, B13:N18, B22:N27, and B31:N36
25   Exhibit 47 to the Huang Declaration
     Originally filed at Dkt. Nos. 257-3 & 258-3 as
26
     Exhibit 1 to Motion to Exclude Defendants’
27   Expert Peterson

28
     Expert Rebuttal Report of Steven R. Peterson,


     DECLARATION OF ARPAN AGRAWAL                     -2-                 CASE NO. 3:20-CV-04423-JD
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 1   Portions Sought to be Sealed                     Basis for Sealing
     dated December 29, 2022
 2
     Portions of pages 7-8, 13-14, 24-27, 47, 50, and
 3   53
     Exhibit 48 to the Huang Declaration
 4
     Originally filed at Dkt. Nos. 273-1 & 274-2 as
 5   Exhibit 1 to Opp. To Motion to Exclude
     Defendants’ Expert Peterson
 6

 7   Excerpts of the January 20, 2023 deposition of
     Steven R. Peterson, with Errata
 8
     153:6-8; 153:11; 153:14-15; 153:20; 154:11-15;
 9   154:21-24; 155:12; 156:9-10
     Exhibit 25 to the Huang Declaration            These documents contain data concerning the
10
     Originally filed at Dkt. Nos. 261-1 & 262      advertising revenue attributable to videos that
11                                                  are the subjects of the sample takedown notices
     Defendants and Counterclaimants’ Motion to     YouTube produced pursuant to this Court’s
12
     Exclude Testimony from Plaintiffs’ Proposed    order on August 30, 2022. Dkt. No. 165. This
13   Experts Charles D. Cowan and Hal J. Singer     information relies on documents produced
     Portions of pages 13                           during discovery that were designated “Highly
14
     Exhibit 27 to the Huang Declaration            Confidential – Attorneys’ Eyes Only” under the
15   Originally filed at Dkt. Nos. 261-3 & 262-6 as parties’ Stipulated Protective Order.
     Exhibit E to Motion to Exclude Plaintiffs’
16
     Experts Cowan and Singer                       The advertising revenue data is sensitive
17                                                  commercial information YouTube protects as
     Excerpts of the January 13, 2023 deposition of highly confidential and requires heightened
18
     Hal J. Singer, with Errata                     protection. Public disclosure of the advertising
19   169:14; 169:17-18; 169:20; 169:22-24           revenue data would reveal to YouTube’s
     Exhibit 28 to the Huang Declaration            competitors the monetization rate of videos on
20
     Originally filed at Dkt. Nos. 261-4 & 262-7 as YouTube and cause competitive harm. It would
21   Exhibit F to Motion to Exclude Plaintiffs’     also impact YouTube’s standing with
     Experts Cowan and Singer                       advertisers and partners, with whom YouTube
22                                                  shares advertising revenue, and harm
23   Excerpts of the Expert Rebuttal Report of      YouTube’s ability to negotiate future
     Steven R. Peterson, Ph.D., dated December 29, advertising revenue share agreements.
24
     2022
25   Portions of pages 24-27
     Exhibit 29 to the Huang Declaration
26
     Originally filed at Dkt. Nos. 279-4 & 280-5 as
27   Exhibit 3 to Opp. to Motion to Exclude
     Plaintiffs’ Experts Cowan and Singer
28



     DECLARATION OF ARPAN AGRAWAL                    -3-                  CASE NO. 3:20-CV-04423-JD
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 1   Portions Sought to be Sealed                     Basis for Sealing
     Excerpts of the January 13, 2023 deposition of
 2
     Hal J. Singer
 3   171:22-24; 172:22-24; 173:4; 173:14-16;
     173:20
 4
     Exhibit 33 to the Huang Declaration              These documents contain a year-by-year
 5   Originally filed at Dkt. Nos. 261-6 & 264-3 as   breakdown of the costs for developing and
     Exhibit 2 to Motion to Exclude Plaintiffs’       operating YouTube’s Content ID tool.
 6
     Proposed Experts Winograd and Jessop             Defendants have designated these documents
 7                                                    “Highly Confidential - Attorneys’ Eyes Only”
     Excerpts of the September 29, 2022 deposition    under the parties’ Stipulated Protective Order.
 8
     of Joseph M. Winograd, with Errata
 9   162:4                                            The cost breakdown of operating Content ID is
     Exhibit 39 to the Huang Declaration              sensitive commercial information YouTube
10
     Originally filed at Dkt. Nos. 276-15 & 278-18    protects as highly confidential and requires
11   as Exhibit 15 to Opp. to Motion to Exclude       heightened protection. Public disclosure of
     Plaintiffs’ Proposed Experts Winograd and        YouTube’s expenses would unfairly advantage
12
     Jessop                                           YouTube’s competitors who could utilize this
13                                                    information to undercut YouTube’s advertising
     GOOG-SCHNDR-00040616                             business and commercial partnerships.
14
     Entirety                                         Additionally, disclosure of the expenses would
15                                                    impact YouTube’s standing with advertisers and
                                                      partners, with whom YouTube shares
16
                                                      advertising revenue, and also harm YouTube’s
17                                                    ability to negotiate future advertising revenue
                                                      share agreements.
18
     Exhibit 46 to the Huang Declaration              These documents reflect YouTube’s
19   Originally filed at Dkt. Nos. 257-1 & 258        operational, and more specifically, incremental
                                                      costs. This information relies on documents
20
     Plaintiffs’ Motion to Exclude Portions of the    designated “Highly Confidential - Attorneys’
21   Expert Report and Testimony of Defendants’       Eyes Only” under the parties’ Stipulated
     Expert Dr. Steven Peterson                       Protective Order.
22   Portions of page 3
23   Exhibit 49 to the Huang Declaration              YouTube’s incremental costs are sensitive
     Originally filed at Dkt. Nos. 273-2 & 274-3 as   commercial information YouTube protects as
24   Exhibit 2 to Opp. to Motion to Exclude           highly confidential and require heightened
25   Defendants’ Expert Peterson                      protection. Public disclosure of such
                                                      information would unfairly advantage
26   Excerpts of the January 13, 2023 deposition of   YouTube’s competitors who could utilize this
27   Hal J. Singer, with Errata                       information to undercut YouTube’s advertising
     242:20                                           business and commercial partnerships.
28



     DECLARATION OF ARPAN AGRAWAL                     -4-                  CASE NO. 3:20-CV-04423-JD
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 1   Portions Sought to be Sealed                      Basis for Sealing
     Exhibit 50 to the Huang Declaration               Additionally, disclosure of the cost breakdown
 2
     Originally filed at Dkt. Nos. 289-1 & 290         would impact YouTube’s standing with
 3                                                     advertisers and partners, with whom YouTube
     Plaintiffs’ Reply in Support of Plaintiffs’       shares advertising revenue, and also harm
 4
     Motion to Exclude Portions of the Expert          YouTube’s ability to negotiate future
 5   Report and Testimony of Defendants’ Expert        advertising revenue share agreements.
     Dr. Steven Peterson
 6
     Portions of page 3
 7   Exhibit 51 to the Huang Declaration
     Originally filed at Dkt. Nos. 289-3 & 290-2 as
 8
     Exhibit 2 to Motion to Exclude Defendants’
 9   Expert Peterson

10
     Excerpts of the January 13, 2023 deposition of
11   Hal J. Singer
     242:20
12

13

14          I declare under penalty of perjury under the laws of the United States that the foregoing is

15   true and correct. Executed this 7th day of April 2023 at Fremont, California.

16

17                                                           /s/ Arpan Agrawal
                                                                 Arpan Agrawal
18

19

20                                   ATTORNEY ATTESTATION
21          I, Kelly M. Knoll, am the ECF User whose ID and password are being used to file this
22   document. In compliance with N.D. Cal. Civil L.R. 5-1(h)(3), I hereby attest that the concurrence
23   in the filing of this document has been obtained from the signatory.
24

25                                                           /s/ Kelly M. Knoll
26

27

28



     DECLARATION OF ARPAN AGRAWAL                      -5-                   CASE NO. 3:20-CV-04423-JD
